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       I 6-C V -0 I 364 rJPO)

       TINITED STATES DISTRICT COURT
       SOUTFIERN DISTRICT OF NEW YORK

        ROSEMARIE RICFIARDS ON,
                                                    Plaintiff,
                                - against -
       CARMEN FARINA, KATHERINE G. RODI,
       CANDACE MCLAREN, MIRIAM M. BERARDINO,
       ANNA STEEL, THE NEW YORK CITY
       DEPARTMENT OF EDUCATION, THE NEW YORK
       CITY BOARD OF EDUCATION, and THE CITY OF
       NEV/ YORK,

                                                     Defendants.

        MEMORÀNDUM O LAW IN SUPPORT OF
        DEFENDANTS THE CITY OF NEW YORK, THE
        NEW YORK CITY DEPARTMENT                                 OF
        EDUCATION, AND THE NE\ry YORK CITY
        BOARD OF EDUCATION'S MOTION TO
        DISMISS THE COMPLAINT


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                    Procedural Obligations ancl Foreclosed Plaintiff From
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                    Employee

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                                                                                                                                                1a
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 TINITED STATES DISTRICT COURT
 SOUTHERN DiSTRICT OF NEW YORK


 ROSEMARIE RICHARDSON,
                                                         Plaintiff,
                                - agamst -
CARMEN FARINA, KATHERINE G. RODI,
MCLAREN, MIRIAM M. BERARDINO, ANNA
                                                                                 16-CV-01364
THE NEW YORK CITY DEPARTMENT
EDUCATION, THE NEV/ YORK CITY BOARD
EDUCATION, and THE CITY OF NEV/ YORK,
                                                         Defendants.



                            MEMORANDUM OF LAW IN SUPPORT OF
                            DEF'ENDANTS THE CITY OF NEW YORK,
                            THE NEW YORK CITY DEPARTMENT OF'
                            EDUCATION, AND THE NE\ry YORK CITY
                            BOARD OF EDUCATION'S MOTION TO
                            DISMISS T'HE CgMPLAIN,It-,,, ,,"",",",' -
                                                                                  '= ',,', '   ",",,

                   Defendants the New York City Department                    of Education, the New York City

Board of Education, and the City of New York, submit this Memorandum of Law, and the

Dcclaration      of   Assistant Corporation Counsel Kevin P. Corurolly, dated May 19, 2016,

("Connolly Decl.") in supporl of their motion to dismiss the Complaint in its entirety pì.lrsuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure.2


                                        PRELIMINARY STATBMENT

                   Plaintiff Rosemarie Richardson ("Plaintifl') was formerly employed by the New

York City Department of Education ("DOE") as a tenured administrator in DOE's Committee on

 ' No oppeata'rce is made on behalf of dcf'cnclants Carrren Farina, Kalherine C. Rodi, Candace Mclaren, Mirianl M,
Iìerarrlino, and A¡rna Stecl (collectively "lndividual f)elendants") at this time. lJpon information antl belief, to cJate,
the Individual Defendants havc not been properly served rvjth the Sunrmons and Complaint.

'Relerenccs to "Conrpl. at _" arc to the pages of plaintiflf's conrplaint, filed February 22,2016, which is atlached
to thc Connolly Decl. as Exhibit A, lÌcl'erenccs to "DOE. Lettcr" are to the letter from the DOE to Plaintiff, datccl
July 2f3,20.l5, which Plaintiff attached as Exhibit I to hcr conrplaint. Ref'erences to "lnvesligative Rcporl" are to thc
DOE Investigative Re¡tort, dated ALrgust 14,2A12, which PlaintifJ'attached as Exhibit 3 to her conrplaint.
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Preschool Education ("CPSE"). Plaintiff brings this action alleging that DOE violated Section

7803(3) of New York's Civil Practice Law and Rules, Plaintiffls Fourteenth Amendment Due

Process rights, and Section 3020-a    of the New York Education Law, contending that, several

years after she retired from DOE,       it wrongfully denied her security clearance,     sought in

connection with Plaintiff s outside employment.

                 DOE's denial arose from its prior investigation of a complaint made        against

Plaintiff by the mother of one of Plaintiff s special needs students ("Mother A"). In October

2011, Mother     A   alleged that on behalf of her son ("Student   A"),   she and his teachers had

requested that Plaintiff change Student   A's Individualized Education Program ("IEP") after the

teachers observed that Student    A   needed additional services. For several months, Mother A

attempted    to contact Plaintiff, but Plaintiff did not respond. At the end of the school    year,

Plaintiff sent Mother A an updated IEP for Student A. Notably, the new IEP falsely stated that

Plaintiff, Mother A, and Student A's teachers had all participated in a telephone       conference

regarding Student A's new IEP on June 28, 2011. Moreover, the new IEP was identical to the

previorrs IEP and did not provide for any of the adclitional services recommended by Student A's

teachers.

                Plaintiff was interviewed by the DOE Ofîice of Special Investigations ("OSI")   on

November 29,2011. In July 2012, as the OSI investigation proceeded, Plaintiff retired from

DOE. Notably, Plaintiff was not terminated from employment and retirecl before any disciplinary

charges were brought against her. On August 14, 2012, afler Plaintiff had already retired from

DOE, OSI issued an Investigative Report substantiating the allegations against Plaintiff       and

recommencling that Plaintiff be placecl on the   "lneligible List" and not be considered for future

DOE employment. On April 23,2015, almost tlree years later, PlaintilTwas offerecl a position to

r¡,ork as an educator for Manual Therapy Center. Since Manual 'l'herapy Center is a DOE venclor

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and services DOE students, Manual Therapy Center is required to have               all of their   employees

obtain DOE security clearance before starting work. On July 28,2015, DOE advised Plaintiff

that her security clearance was denied based on the substantiated OSI investigation against her.

               Plaintiff seeks to challenge the DOE's detennination through this fecleral action.

Such a challenge is misplaced and unavailing.            At the outset, Plaintiffs complaint      should be

dismissed because, no matter how        it is couched,   she essentially challenges the basis for DOE's

detemination denying her security clearance. Such a determination may only be challenged by

commencing a state court special proceeding in New York State Supreme Court pursuant to

Article 78 of the New York Civil Practice Law and Rules. Plaintiff directly asserts         a claim under


that provision, but    it   cannot proceed here. lndeed,   it is well established that the federal    courts

lack jurisdiction over an Article 78 claim. And, morcover, Plaintiffls Article 78 claim itself is

time-barred because, notwithstanding the jurisdictional bar, an Article 78 proceeding must be

commenced within four months           of the determination being challenged. Plaintiff brought         her

Arlicle 78 claim   -   albeit, improperly, in federal court   -   seven months after receiving the DOE's

clenial determination. That claim must be dismissed.

               Dismissal is thus warranted for Plaintifls claims raised under the Due Process

Clause   of the Fourteenth Amendment             ancl New York State Education Law Section

3020-a. Plaintiff retired while DOE was        still conducting its investigation into the allegations

made against Plaintiff, but alleges that, nevertheless, a hearing pursuant to Section 3020-a was

mandated. Yet, by retiring, Plaintiff preventecl DOE frorn bringing disciplinary charges related to

her conduct. Moreover, Plaintiff has no constitutionally protected property interest in a DOE

security clearance. Finaìly, Plaintiff was not deprived            of a constitutionally-protected liberly

intercst because DOE made no public staten'ìents about her, nor was she ever dismissed from

DOE ernployment. She cannot, as a matter of latw, establish any such claim.
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                       For these reasons, as further explicated below, the complaint should be dismissed

    in its entirety.

                        STATEMENT OF FACTS AND PROCEDURAL HISTORY3

        A. DOE's Investigation of Plaintiffls Conduct:
                       Plaintiff was employed by DOE as a tenured administrator in DOE's CPSE.                          See


    Compl.    at\2,     Exhibit A and lnvestigative Report at           l, Exhibit 3 of Exhibit A. Every school
district has a CPSE that determines whether a child, ages three to five years old, requires special

education intervention or services, See Investigative Report at 1, When a parent or education

professional believes a child might benefit from special education, the school district- in this

case, the CPSE          - reviews referrals from      parents and teachers, arranges for student evaluations,

and reviews the results. Id.            In   consultation     with the stuclents' parents, the CPSE                 makes

recommendations about the students' need for special education and whether the student needs

an IEP. Id, An IEP is a federally-mandated document that outlines the individualized and specifìc

educational program for a student with a disability. Id,                A school district must annually review             a


student's IEP and arrange for a re-evaluation ofthe student at least once every three years. Id.

                       On October 13,2011, OSI received a complaint concerning the inappropriate

conduct of Plaintiff. Id. On November              4,201l, OSI interviewed CPSE Executive Director, Jan

McDonald. Id. at 3. McDonald informed OSI that Mother A had complained that she clid not

parlicipate in an in-person meeting or telephonic confèrence call with Plaintiff regarding her f'our

year olcl Stuclent        A's   annual IEP review. Id. McDonalcl explained that on                      a form    entitled


I DOF- <ira*s these facts lront the conrplaint, fronr the DOE Lctlcr attachecl to the conrplaint as Exhibit l, anrj from
the Investigative Report attachecl to thc conrplaint as Exhil¡it 3, all attaclred to the Connolly l)ecl. as Flx. A. S'ee
C)haml¡ers v.7'inte ll/arnet', 1nc.,282 F.3tl 147,153 (2d Cir.2002) (court resolving nrotion to disnliss can consider:
[] clocuments that plaintifl'âttached to the plcadings; [2] clocr¡nrents to which plaintiff ref'erred in the conrplaint; [3]
nlatters of which judicial noticc rray be taken; [4] documcnts in plaintifls ¡rossessíon; and [5] docunrents of which
plaintilf had knowledge ancl upon rvhich plaintiff rclicd irr bringing the action). Pursuant to Federal I{ule ol Civil
Proceclure l2(bX6), plaintilf-s allegations arc assurne(l to be truc lor purposes of this nlotion to <Jisrniss only.

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"Authorizatìon of the IEP-Change", Plaintiff indicated that she held a telephonic conference call

with Mother A and that Plaintiff had signed the fonn on behalf of Mother A. Id.

                    On November 22, 2011, OSI interviewed Mother A. Id. Mother A stated that

Student    A's teachers recommended that her son be evaluated by CPSE. Id. In September                    2010,

Stuclent   A received an IEP detailing the services that he would receive beginning that month. Id.

In November 2010, Student A's             teachers recommended         a re-evaluation of Student A's IEP

because they believed he needed additional services.          id. As   a result, on November 2010, Mother

A requested that Student A be re-evaluated by CPSE. Id, After several attempts to contact CPSE

regarding her son's IEP, in April 2011, Mother A was informed that Plaintiff was assigned to

Student    A's   case. Id. Mother   A repeatedly attempted to contact Plaintiff to requcst that Student A

be re-evaluated.      Id. However, Plaintiff    did not respond to any of Mother A's phone calls or

letters. [d,

                   On July 5,2011, Mother A received a new copy of Student A's IEP from

Plaintiff.   id.   Although the IEP indicated that Mother A participated in a telephone conference

with Plaintiff on June 28,2011, Mother A insisted that no such conferenÇe               \ryas ever   held. Id. at

4. Mother A further insisted that she had just changed jobs at that time and could not have been

reached by phone. Icl. FLrrthermore, Mother         A noted that the IEP was iclentical to the IEP that

was assigned to her son the prior year. Id. She was adamant that she would have never agreed to

keep the same IEP when she had been advocating               for Student A to receive additional       services.

Id. In September 201l, Mother A complairied that the CPSE had neverre-evaluated Student A's

IEP, despite the insistence of both herself and Student        A's service providers.   Id.

                   On November 29,2011, OSI notified Plaintiff that she was the subject of this

investigation.     Id. at 5. On December 16,2011, OSI interviewed Piaintiff. Id. During                      the

interview, Plaintiff stated that she began working at CPSE                 in   December 2010. Icl. When
                                                    -t- 1
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 questioned, Plaintiff was very evasive and refused to explain her responsibilities and the referral

process for preschool students. Id. Plaintiff did not recall handling Student    A's   case and was not

 familiar with Student A or Mother A. Id. When presented with a copy of Student A's IEP,

Plaintiff acknowledged that she had filled it out and that it contained her signature, but could not

recall any specifics, including the alleged teleconference call with Mother              A. Id. When
questioned about why Student         A's service provider had not been present during the alleged   June

28,2071 teleconference call, since the name and signature of the service provider were left blank

on Student A's IEP, Plaintiff stated that it is not unusual for a service provider to be absent

during an IEP meeting. Id.

     B. PlaintifPs Retirement in July 20122
                  In July 2012, as the OSI investigation was still being conducted, Plaintiff retired

frorn DOE, See Compl. at t[ 31. Notably, Plaintiff was not terminated from employment and

retired before any disciplinary charges were brought against her. Id.

    C. DOE's Investigative Conclusion dated August 14,2072:
                  On August 14, 2012, after Plaintifï had already retired from DOE, OSI issued an

lnvestigative Report detailing its findings. See Investigative Report. Part 200 of New York State

Regulations of the Commissìoner of Education, Section 200.16, requires a CPSE employee to

responcl to a request   for cvaluation within ninety days. Id. at l-4. Section 200.4(dX4) of the New

York State Regulations of the Commissioner of Education and Section 4410 of the New York

State Education Law state that,      "To the extent possìble, any mccting of the ICPSE] shall be held

at a site and time nrutually convenient to the members of the ICPSE] and the parents of the

preschool students . . ." 7d. at2.

              After conducting its investigation, OSI substantiated the ft¡llowing allegations against

Plaintiff:

                                                   -B-
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    1. Plaintiff falsely    documented that Mother A had participated, via teleconference, in the
         annual review of Student A's IEP on June 28,2011.
    2.   Plaintiff failed to contact Student A's service provider to schedule the IEP review and to
         ensure the service provider's presence during the annual IEP review on June 28,2011.
    3.   Plaintiff failed to contact Mother A to schedule the IEP review and failed to ensure that
         Mother A could attend.
    4.   Plaintiff failed to follow the timelines under Section 200.16 of the New York State
         Regulations and Section 4410 of Education Law Article 89.
    5.   Plaintiff failed to respond to the requests from Mother A and the service provider to
         change Student A's IEP.

Id. at 6-7 . Accordingly, OSI recommended that Plaintiff be placed on the Ineligible List and not

be considered for future employment with DOE. Id,.

    D. Plaintiffls Application With Manual Therapy Center          dated April 23120152

                 On April 23,2015, approximately three years after retiring from DOE, Plaintiff

was offered a position to work as an educator for Manual Therapy Center. See Compl. at'l|f 40.

Since Manual Therapy Center is a DOE vendor and services DOE students, Manual Therapy

Center is required to have   all of their employees obtain DOE security clearance before starting

work. Id. at !l 41.

                Since Plaintiff had retired from the DOE with an open investigation, Plaintiff    s


security clearance was triggered for an investigation. See DOE letter, Exhibit 1 of Exhibit   A. At
the end of the investigation, DOE sent Plaintiff, a letter informing her that she was denied for

DOE security clearance. id. The reason for the denial was due to Plaintiffls adverse employment

history with DOE. Id. Specifically, DOE's letter states

         While employed as an Educational Administrator for tlie DOE, you v/ere subject
         of an OSI Report, da|ed 8/14/12. This report found that, in your position as a
         Committee on Preschool Special Education (CPSE) Administrator, you failed to
         follow the timeljnes under Section 200.16 of the NYS Regulations and Section
          4410 of Education Law Arlicle 89, you failecl to respond to the request of both a
         parent and service provider to change a student's Individualizecl Education Plan
         (lEP), you failed to contact said student's mother and service provider to review
         and ensure that they coulcl be in attendance during an IEP review, and you falsely
         documelrted that said motlrer had participated, via teleconf'erence, in the annual
         review of her child's IEP.

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            If   granted security clearance, you   will   be working in a position where you   will   be
            responsible for both the management and implementation of various student
            IEP's. Your inability to properly cany out the duties and responsibilities of the
            position you held as a DOE employee causes grave concern when considering
            your ability to satisfactorily perform in the position you are seeking. Granting you
            security clearance would pose an unreasonable risk to the safety and welfare of
            the school community and to taxpayer interests.

     Id. Plaintiff was advised that she could be considered for security clearance twelve months after

 the date of the DOE letter       if   she had a valid    job offer. Id. Plaintiff received the DOE letter   on

 July 28, 2015. See Compl. at fl 43.

                     On February 22, 2016, almost seven months after receiving the DOE letter

 informing her of the decision to deny her security clearance, Plaintiff commenced this action by

 filing   a summons and complaint seeking redress           of DOE's determination denying her application

 for a security clearance. See Compl. Plaintiff now assefis three causes of action against DOE: l.

 violation of $ 7803(3) of New York's Civil Practice Law and Rules; 2. violation of Plaintiff                 s


 Fourteenth Amendment Due Process rights; and 3. violation                  of $ 3020-a of the New York
 Education Law. Id.

                                                 ARGUMENT'

I.      APPLICABLE STANDARD

                     Plaintiffs complaint should be dismissed uncler Rule l2(b)(6) of the              Fedcral

 Rules    of Civil Procedure lor failure to state a claim. On a motion to dismiss          macle pursuant to

 this rule, the Court must "accept the material facts alleged in the complaint as true" and "draw [ ]

 all reasonable inferences from its allegations in favor of the plaintiff." Uce v. SonV tSlvlC Musk

 Li¡rtnr't. Irtc.,557 F. Supp. 2d 418,423 (S.D.N.Y. 2008). However, to "survive a motion to

 dismiss, a conrplaint must contain sufficient factual matter. . . to'state a claim to relief that is

 plausible on its fàce."'Ashcrofl v. l¡lþg1,556 U.S. 662,678 (2009), lfuali¡g Ilefl Atl. Corp. v.


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Twombly, 550 U.S. 544,570 (2007). "While a complaint attacked by a Rule 12(bX6) motion to

disrniss does not need detailed factual allegations, a plaintiff s obligation to provide the grounds

of his entitlement to relief requires more than labels and conclusions, and a formulaic recitation

of the elements of a cause of action will not do." Twombll¡, 550 U.S. at 555 (quotations, citations

and alterations omitted). The complaint must asseft "enough facts to state a claim to relief that is

plausible on its face." Id. at 570. Thus, unless a plaintiffls well-pleaded allegations have "nudged

[her] claims across the line from conceivable to plausible, fthe plaintiffs] complaint must be

dismissed."   þ
                  Moreover, the Court must only accept as true the allegations that contain factual

matter, and need not accept as true the allegations that merely state legal conclusions. See Harris

v. Millq, 572F.3d 66,72 (2d Cir.2009). Following lqbal, supra, Courts have gtanted motions to

dismiss where tlie plaintiff has pled her claim in a conclusory form, without sufficient supporting

factual allegations.   lçg   q,g, Thompson v. ABVI Goot'lwill        Services   , 2Ol3 U,S. App. LEXIS
18680, aL*3 (2d Cir. Sept. 9,2013) ("we agree with the district court that several of fplaintiffls]

factual allegations are conclusory, including [plaintiffs] allegations as             to fan individual
defendant's] motives in making certain comments"); Cole¡nan' v.Jliglceri¡XB¡eiq; LLC,2010 U.S.

App. LEXIS 8976, at **2-3 (2d Cir. Apr. 30, 2010) ("Our indcpendent review of the record

confìrms that the district court properly dismissed the complaint, as fplaintiffl failed to allege

f'acts suffìcient to rencler plausible his conclusory allegations"   of discrimination).




                                                -il-
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  U.     PLAINTIFF'S COMPLAINT SHOULD BE DISMISSED BECAUSE A FINAL
         ADMINISTRATIVE DETERMINATION MAY ONLY BE CHALLENGED BY
         COMMENCING AN ARTICLE 78 PROCEEDING IN NEW YORK STATE
         SUPREME COURT

    A.   The Court Lacks Jurisdiction over Plaintiffs Article 78 Claim

             In the instant matter, Plaintiff challenges DOE's final administrative determination

 denying her security clearance. However, Plaintiffs complaint should be dismissed because

Plaintiff may <inly challenge such a final administrative determination by commencing an Article

78 proceeding in the New    York State Supreme Court.

             Accordingly, Plaintiffls Article 78 claim is improperly brought before this Court, and

thus must be dismissed for lack of subject matter jurisdiction as "New York State has not

empowered the federal courts to consider such claims." Blatch ex rel, Clav v. I{ernandez, 360 F.

Supp. 2d 595, 637 (S.D.N.Y. 2005). Such a conclusion is based on the specific language of

section 7804 of the New York     Civil Practice Law and Rules ("CPLR"). CPLR $ 7804(b)           states

that "la] proceeding under this article shall be brought in the supreme court in the county

specified   in subdivision (b) of section 506    except as that subdivision otherwise provides"

(emphasis added). New     York courts have consistently relied on this unequivocal langrrage to

dismiss proceedings that were not properly commenced. These courts have held that the Supreme

Court has exclusive jurisdiction over Article 7B proceedings. See CartritÌc¡la       v. Cit)/ qf New
York, 257 F. Supp. 2d 708,710 (S.D.N.Y. 2003). In Cnrtagcna, the Court ruled that it lacked the

power to exercise supplementaljurisdiction over    AÍicle   78 claims for this reason. Id.

         Even assuming that    a   fecleral district court coulcl properly exercise supplemental

jurisdiction over an Article 78 claim, the court need not hear such claims. 28 U.S.C. $ 1367(c)

states that a court has cliscretion whether to entertain such claims and may clecline to exercise

supplementaljurisdiction if there are compelling reasons to do so. See Monri¡rqside St¡¡lcnlla_rlie1


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 Corp. v. New York St¿rte Ðep't pf He¡lth, 432F. Supp,2d 334,346 (S.D.N.Y.2006). Section

 1367(c) provides that the court may decline to exercise supplemental jurisdiction over a claim            if:

                        (1) the claim raises a novel or complex issue of
                        State law, (2) the claim substantially predominates
                        over the claim or claims over which the district
                        court has original jurisdiction, (3) the district court
                       has dismissed all claims over which it has original
                       jurisdiction, or (4) in exceptional circumstances,
                       there are other compelling reasons for declining
                       jurisdiction.

                Indeed, the federal courts have found that the unique nature                  of Article   78

proceedings provides a compelling reason to decline the exercise of supplemental jurisdiction:

                       An Article 78 proceeding is a novel and special
                       creation of state law, and differs markedly from the
                       typical civil action brought in this Court in a
                       number       of ways. It is a 'special proceeding           ...
                       designed to facilitate a summary disposition of the
                       issues presented, ... and has been described as a fast
                       and cheap way to implement a right that is as
                       plenary as an action, culminating in a judgment, but
                       is     brought    on with the ease, speed and
                       inexpensiveness of a mere motion.' Article 78
                       proceeclings were designed for the state conrts, and
                       are best suited to adjudication there,"

l¡gglæåg_y._earþg¡t, 22 F. Supp. 2d 256,258 (S.D.N.Y. 1998). As such, "fb]ecause accepting

supplemental jurisdiction over such claims requires a fècleral court                to 'usurp the statutory
authority bestowed upon tlre New York state courts, lederal couns arc loath                     to   exercise

jurisdiction over Añicle 78 claims,"' Momifrss'iqtq          , 432 F. Supp. 2d at 346. The Mor:rri¡rgsirlc
court further statecl that   it   was aware   of only two      cases   in which a federal court    exercised

jurisdiction of over an Article 78 claim, ancl in each case the court acknowledged the existence of

exceptional circumstances. Id. at 347.

               Plaintifl cannot demonstrate the existence of exceptional circumstances as there

are substantial consideratior-rs weighing against the exercise              of   sLrpplemental jurisdiction.

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 Supplemental jurisdiction is rarely appropriate where the federal claims have been dismissed on

a   motion. See Valencia v, Lec, 3 16 F.3d 2gg, 305 (2d Cir. 2003); Giordano v. City of New York,

274F.3d740,754-755 (2d Cir. 2001);24T[ou.r-Fuel Qil'Co{r,             v,.   Lohg Island R+ìl Roarj Co.,903

F. Supp. 393,399 (E.D.N.Y. 1995). Because the remainder of Plaintiffs federal claims fail to

state a cause      of action, the Court should decline to exercise supplemental jurisdiction             over

Plaintiff s Article 78 claim. Accordingly, Plaintiffls Article 78 claims should be dismissed based

on lack of subject matter jurisdiction.

     B.   PlaintifPs Article 78 Claims are Time-Barred

                   As articulatecl above, an Article 78 proceeding must be brought in state court. As

well, such a proceeding "must be commenced within four months after the determination to be

reviewed becomes final ancl binding upon the petitioner." CPLR $ 217(1); see also MattCi                     pf

O*À{iliu v. Borgard, 55 N.Y.2d 216,219 (19S2). An administrative determination is considered

final and bincling, for the purposes of determining the commencernent of the limitations period,

when the petitioner has received notice of the determination and is aggrieved by          it.   Seq Matter   ol
Ltrbin v. Board of Educ., 60 N.Y.2d 974,976 (1983), eel:t ele¡riod, 569 U.S. 823 (1983); see also

Matter of,\&rsc.olo     v. I-lirst, 303 A.D.2d 376,316 (1st Dep't 2003).              Notwithstanding the

jurisdictiorral irnpediment, dismissal further is waranted because this Article 78 claim is

untimely.

                   Plaintiff concedes that she received notice of the DOE's final determination,

denying her application for a security clearance, on July 28,2015. See Compl. at fl 43. Plaintiff

therefore had until November 28,2015, to commence an Article 78 proceecling challenging the

determination denying her application. However, she clicl not cornrnence the instant proceeding

until she fllecl   a summons and   complaint on February 22,2016, almost scvcnth months after she

received notice     of DOE's decision.    See   id. 'l-herefore, even il'this Couft could decide       them,

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 Plaintiffs Article 78 claims still must be dismissed because she failed to timely challenge the

 determination that her security clearance be denied within the applicable four-month statute of

 limitations prescribed in CPLR g 217(l); see alqo CPLR article 78.

 ilI.    PLAINTIFF'S F'IRST AND SECOND CAUSES OF ACTION, ALLEGING
         VIOLÄTION OF HER DUE PROCESS RIGHTS AND VIOLÀTION OF
         SECTION 3020-A OF THE NE\ry YORK EDUCATION LAW, SHOULD BE
         DISMISSED B,{SED ON HER FAILURE TO PLEAD A PRIMA F'ACIE CASE

                  The Due Process Clause of the Fourteenth Amenclment provides that no state shall

 "deprive any person of life, liberty, or property, without due process of law." To establish       a

violation of due process, a plaintiff must (1) identify a constitutionally protected interest of

which she was deprived by state action; and (2) show that she did not receive the process that

was constitutionally due. See Zinermon v. Burch, 494 U.S. 173, 125,110 S. Ct,975,108 L. Ed.

2d 100 (1990) ("fTlhe deprivation by state action of a constitutionally protected interest . . . is

not in itself unconstitutional; what is unconstitutional is the deprivation of such                all

interest without due process of law.") (emphasis in original).

    A. Plaintiffs  Rights Under the Due Process Clause of the Fourteenth Amendment and
        New York State Education Law Section 3020-A Were Not Violated When She Was
        Placed on the Ineligible List Without a Disciplinary Hearing, Because Her
        Retirement Deprived DOE of the Opportunity to Comply W¡th Procedural
        Obligations and Foreclosed Plaintiff From Seeking the ProtectÍons of Her Previons
        Rights as an Employee

                 In the context of an adverse employment claim, where the alleged illegality is the

employer's failure    to afford the   employee legally required procedural protections, and the

ernployee voluntarily resigns before being discharged, the resignation effectively deprives the

employer      of the opportunity to comply with the procedural obligations and forecloses         the

employee from seeking the protections        of her previous rights as an employee. Finle)¡        v.

Gi¿rce,þþg,   79 F.3d 1285 (2d Cir. 1996); Ji'achteubcrg v. Dep't of Erluc^,937 F. Supp.2d 460

(S.D'N.Y.2aß);,2013U.S.Dist.LEXIS4354l.DucproccSs
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guarantees that before the state may deprive an individual          of life, liberty or property, he or     she

will be provided with proceclural protections               appropriate   to the particular   circumstances.

'flìllia¡rrs v. þI.N,S, Menrt. Co., 56 F. Supp. 2d 515 (D. Conn., June 28, 1999). However,                   an

employee's voluntary resignation effectively deprives the employer of the opportunity to comply

with such procedural obligations and forecloses the employee from seeking the protections of his

rights as an employee. Id.

               Here, Plaintiff s first cause of action alleges that the "placement of fPlaintiff] on

the [DOE's] 'lneligible List' has deprived Richardson of clue process of law."                $.e.q   Compl. at

u 53. Similarly, in Plaintiffs second cause of action, she alleges that the "faìlure to afford

fPlaintiff] a hearing before an impartial hearing officer and to provide fPlaintiff] with a notice

and opportunity to be heard with respect to any allegations regarding her conduct, violated

Education Law $ 3020-a." Id.      I6l.
               However, by retiring her position while DOE conducted its investigation into the

allegations made against Plaintiff, Plaintiff deprived DOE                of the opportunity to conduct       a


disciplinary hearing and foreclosecl Plaintifl from seeking the protections of her previous rights

as an employee, specifically the rights formerly afforded to her under Section 3020-a of the New

York Education Law. Section 302A-a of the New York Education Law has no bearing on                          the

instant matter because Plaintiff was no longer a DOE employee at the time OSI substantiated the

allegations against her nor were 3020-a charges ever filed against Plaintiff. Moreover, tn the

extent Plaintiff believes she was entitled to a 3020-a hearing, slie should lrave tirnely commenced

an Article 78 proceeding     -   a rneaningfui and adequate state law rernedy        -   in New York State

Srrpreme Couft requesting said       relief.   See   Gi*lio r,. Dunn,732 F.2d 1133 (2cl Cir.             1984).

Througlr an Afticle 78 proceeding, plaintifi could have, but clicl not. challenge various

determjnations, including the denial of security clearance as wcll as assert that a hearing should
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have been held pursuant to Education Law $ 3020-a, notwithstanding her non-employee status.

See    Çiglio,732 F,zd at 1135 ("Where, as here, Article 78 gave the employee a meaningful
opportunity to challenge the voluntariness of his resignation, he was not deprived of due process

simply because he failed to avail himself of the opportunity."). Accordingly, Plaintiff s first and

second causes ofaction, respectively alleging violation        ofher   due process rights and violation   of

her rights under New York State Education Law $ 3020-a, should be dismissed.

       B. Plaintiff Does Not Have a Property Interest in a DOE Security            Clearance

                   In order to   establish   a Due   Process claim based on the deprivation          of   a


constitutionally protected interest, Plaintiff must show that she has a property interest, created by

state law, in the employment or the benefit that was removecl. Bcitlh.çiili Vi r/-itt;79 F.3d 378,322

(2d Cir. 1996). "fTlhere is no constitutionally protected property interest in                 prospective

goverTrment employment," and a job applicant therefore has no property interest            in the position

for which she applies. Abrarlrson v, Pataki,,278F.3d 93, 100 (2d Cir. 2002); see also Boarrl of

Regents    j.   Itotll, 408 U.S. 564 (1972) (unilateral expectation of re-appointment to teaching

position does not create properly interest);                                           241F.3d279,288

(2c1   Cir. 2001) (plaintiff "had no propefty interest in fair consideration for [a] promotion.");

Mercliarl¿i¡rc v. Crasso, 696 F.2d 217,221-22 (2d      Cir. 1982) (applicant for a job    has no property

interest in the job). A person who voluntarily resigns from a position may not, in most cases,

then be lieard to express aproperty interest in it. il.llorsen v. (loullty ol'Nass¿ltt,294F. Supp.2d

371 (E.D.N,Y. 2003). Here, Plaintiffs unilateral expectation tirat she would regain a teaching

position or that her application for a security clearance would be granted does not create                a


property interest. As such, she cannot use the denial of a DOE security clearance as the basis for

her clue process claim.



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    C. Plaintiffs Complaint Does Not Establish the Deprivation of a Constitutionally-
       Protected Liberty Interest

                A plaintiff establishes the deprivation of a constitutionally-protected liberty
interest by proving that   (l)   the government made stigmatizing statements about the plaintiff that

call into question her good name, reputation, honor, or integrity; (2) these stigmatizing

statements were made public; and (3) the stigmatizing statements were made concurrently with,

or in close temporal proxirnity to, the plaintiffs dismissal from govemment employment. Sesal

vr city.ol-Nêw'York,459 F.3d 207,212 (2d Cir. 2006).

                Here, in Plaintiff s first cause of action, she alleges, "In continuing to disqualify

lPlaintiff] from employment with the [DOE] and/or any contractor who contracts with                  the

[DOE], the [DOE has] injured fPlaintiffs] good name and reputation and [has] foreclosed her

from practicing her profession without due process and/or the ability to contest the allegations

arising from the 'investigation'       of fPlaintiffl."    See Compl. at   ]   54. However, Plaintiffs

pleadings fail to establish the deprivation of a constitutionally-protected liberty because they do

rrot allege that DOE made stigrnatizing statements to the public, The only statements that

Plaintiff alleges that were eve¡ made about her were in the OSI Investigative Report and the

DOE Letter denying her security clearance. See Compl., Investigative Report, and DOE Letter.

Notably, neither of these documents was made available to the public. Id. The Investigative

Report was an internal DOE document that was sent fiom OSI Confidential Investigator, Myriam

Berardino, to OSI Director, Candace Mclaren. See Investigative Reporl. Plaintiff does not allege

that the lnvestigative Report was ever released to the public. See Compl. Similarly, the DOE

I-etter was sent dircctly from DOE to Plaintiff, ancl Plaintiff, once again, docs not allcgc that the

DOE Letter was ever released to the public. See DOE Letter. Accorc'lingly, Plaintiflf fäils to

establish that DOE macle any public stâtemellts about her.


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                 Moreover, Plaintiff s pleadings do not allege that these statements were made in

 close temporal proximity to her dismissal from government employment. See Cornpl. In fact,

 Plaintiff readily admits that she voluntarily retired from government employment and was never

 dismissed. Id. at   fl 31. As Plaintiff has not established that DOE made any public statements
 about her or that she was disrnissed from DOE employment, she has failed to establish the

 deprivation of a constitutionally protected liberty interest. Accordingly, Plaintiff s due process

claims should be dismissed.

 IV.    THE CITY OF NEW YORK IS NOT A PROPER PARTY TO THIS ACTION

                 Pursuant to Education Law $ 2590-9(2), DOE      -   and not the City -,was Plaintiff   s


employer. Accordingly, and notwithstanding the grounds for the dismissal of this actìon in its

entirety, all claims against the City must be dismissecl. The Education Law provides:

                         The board shall have the power and duty to:

                         2. for all purposes, be the govemment or public
                         employer of all persons appointed or assigned by
                        the city board or the community districts . .   ..


NY EDUC. Law $ 2594-9(2). The City and DOE are separate legal entities; as such, the City of

New York is not proper party to this matter. It is well setlled that "The Board of Education is not

a departnrent of the city of New York." Rassclalc y. Board of Education, 282 N.Y. 323 (1940)

(citing to Divisich    v. Marsha[,28] N. Y.        17A,   n3   0939)). Both the First and      Second

f)epartments of the Appellate Division have disrnissed claims as against the City of New York

where the City and the Board were both named, in part, because the City and the Board are

separate legal entities and as such the   City is, generaily, not a proper par-ty to an action against

tlre Board. See C'¿rnrpbcll v. Cit)¡ of'Ner'v Yor\, 203 A,D.2d 5A4 (2d Dep't 1994); see also

Goldrrrnn v,   Cityof'Ncrv Yr)t:k,287 A.D.2d 689 (2d l)ep't 2001) (npholding grant of summary

judgrnent where plaintifï named only the City of New York as a clel'enclant in a suit where the

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proper party would have been the Board         of Education and denying motion to amend           the

pleadings because the statute of limitations hacl run); ^Pereev-, City of New   York,4l A.D.3d378,

379 (lst Dep't 2007),gû@.!-¡leu!sd,      l0 N.Y.3d 708 (2008) (the City         and the Board remain

separate legal entities even afler 20A2 amendments    to the Education Law providing for greater

mayoral control and significantly limiting the power of the Board of Education).

               In this action, the complaint must be dismissed as against the City of New York

because, as provided for in the Education Law, the City was not   Plaintiff s employer.




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                                          CONCLUSION

       For the foregoing reasons, defendants respectfully request that the Court issue an order

granting their motion to dismiss the complaint in its entirety together with such other and further

relief as this Court deems just and proper.

Dated: New York, New York
       May 19,2016
                                              Respectfully Submitted,
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